Case 1: 05- -C\/- 01137- .]DT- STA Document 2 Filed 05/13/05 Page 1 of 4 Page)%`l

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IN THE UNITED sTATEs DISTRICT COURT 450 0
FoR THE WESTERN DISTRICT oF TENNESSEE /;.,},__ 3 ,% 'C
EASTERN DrvlsioN 915 :"/é:»?[ é’.-
_ _ /1/ f 0/§}%;)
Umted States of Arnerlca, 405/gs Of
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Plaintiff,
vs. civilN0.1-05-1137 'lll
Three (3) Firearms,
Defendant.
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Pursuant to a complaint filed by the United States on l d Qfé i 3 , 2005,

seeking the forfeiture of Three (3) Firearrns, under the provisions of 18 U.S.C. §3501(c), 18 U.S.C.
§924(d), 18 U.S.C. §983, and 19 U.S.C. §§1602-1624, it is hereby ORDERED:

1. That the Department of Justice, Bureau of Alcohol, Tobacco, Firearrns and
Explosives will seize the defendant property and hold said property subject to the further orders of
this Court;

2. That the Department of Justice, Bureau of Alcohol, Tobacco, Firearms and
Explosives will serve a copy of the complaint on all known claimants to the defendant property
including, without limitation, Luther Hopper and Raymond Hopper;

3. That the Department of lustice, Bureau of Alcohol, Tobacco, Firearms and
Explosives will advertise in the Daily News, Memphis, Tennessee, for a period of three consecutive
weeks, once per week. The advertisement will notice that the defendant property was seized by the
Department of J ustice, Bureau of Alcohol, Tobacco, Firearrns and Explosives on December 20, 2004

in Saulsbury, Tennessee, from Luther and Raymond Hopper; that a Complaint for Forfeiture has

Thls document entered on the docket shoot in compliance

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been filed pursuant to 18 U.S.C. §3501(0), 18 U.S.C. §924(d), 18 U.S.C. §983, and 19 U.S.C.

§§1602-1624; and that any parties claiming any interest in the said property must file a claim within

thirty (30) days of the notice and an answer to the complaint within twenty (20) days thereafter;
4. The Department of Justice, Bureau of Alcohol, Tobacco, Firearrns and Explosives

may use the attached legal notice in the advertisement

3d1
ENTERED; This / day ofM,zoos.

UNI STATES DISTRICT IUDGE

APPROVED:

TERRELL L. HARRIS
United States Attorney

By: l
STOPHER E'. COTTEN
Assistant United States Attorney
800 Federal Building
Memphis, Tennessee 38103
(#014277, Tennessee)
(901)544-4231

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
United States of America,
Plaintiff,
vs. civiiNo.l-05-1137 -]'An
Three (3) Firearms,
Defendant.
LEGAL NOTICE

Take notice that on December 20, 2004, the Departrnent of Justice, Bureau of Alcohol,
'l`obacco, Firearms and Explosives seized Three (3) Firearms from Luther and Raymond Hopper of
Saulsbury, Tennessee.

On _ 5 l l 3 l 2005, the United States filed a complaint to forfeit said property under
the provision of 18 U.S.C. §3501(0), 18 U.S.C. §924(d), 18 U.S.C. §983, and 19 U.S.C. §§1602»

1624, the complaint being styled:

United States of America v. Three Firearms,

N0_1-05-11§7 ill

Any party having any objection to said forfeiture or maintaining any claim to the said
property must file a claim in the District Court for the Western District of Tennessee, 242 Federal
Building, 167 N. Main, Memphis, Tennessee 38103 and serve notice upon the United States

Attomey, 800 Federal Building, Memphis, Tennessee 38103 within thirty (30) days of the first

publication of this notice and must file an answer to the complaint within twenty (2 0) days thereafter

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case l:05-CV-01137 was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

USA

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Honorable J ames Todd
US DISTRICT COURT

